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                    UNITED STATES DISTRICT COURT
         FOR THE SOUTHERN DISTRICT OF OHIO, EASTERN DIVISION

 TANISHA VAUGHN,                                )      CIVIL COMPLAINT
                                                )
        Plaintiff,                              )      CASE NO. 2:19-CV-773
                                                )
 v.                                             )      JUDGE GEORGE C. SMITH
                                                )
 ALLIANT CAPITAL MANAGMENT                      )      MAG. JUDGE CHELSEY M.
 LLC c/b/a ACM LLC,                             )      VASCURA
                                                )
      Defendant.                                )      JURY DEMAND


                              NOTICE OF SETTLEMENT


       Now comes Plaintiff and states that this matter has been amicably resolved. A

notice of dismissal is expected within thirty (30) days.


                                             Respectfully Submitted,


Dated: April 11, 2019

                                              By: s/ Geoffrey Parker

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